       Case 4:23-cv-04155-YGR                  Document 427-3              Filed 11/06/24         Page 1 of 2
                                                                                    U.S. Department of Justice




                                                                                    Federal Bureau of Investigation
                                                                                    Washington, D.C. 20535


                                                                                   May 24, 2024

JOHN RUSSELL BELLHOUSE
“76806509
FEDERAL CORRECTIONAL INSTITUTION
PO BOX 5000
OAKDALE, LA 71463-5000

                                                                 FOIPA Request No.: 1636254-000
                                                                 Subject: BELLHOUSE, JOHN RUSSELL

Dear John Bellhouse:

            This acknowledges receipt of your Freedom of Information/Privacy Acts (FOIPA) request to the FBI.

           The FOIPA number listed above has been assigned to your request; however, your letter did not contain
sufficient information to conduct an accurate search of the Central Records System. As a result, your request has
been closed.     Please provide the below information.

Full Name:

Current Address:

Date of Birth:                                                   Place of Birth:

Daytime Telephone Number:

         Please provide any additional information to assist the FBI with our search for records, such as prior
addresses, employments, aliases, approximate time frame for the information sought.




            Under penalty of perjury, | hereby declare that | am the person named above and | understand that any
falsification of this statement is punishable under the provisions of Title 18 U.S.C. § 1001 by a fine of not more than
$10,000 or by imprisonment of not more than five years, or both; and that requesting or obtaining any record(s) under
false pretenses is punishable under the provisions of Title 5 U.S.C. § 552a (i)(3), as a misdemeanor and by a fine of
not more than $5,000.      The signature must be legible.

Signature

Date

         If you submitted your request through the FBI’s eFOIPA portal and you are receiving correspondence
through standard mail, it was determined your request did not meet the eFOIPA terms of service.

         Mail your response to: Initial Processing Operations Unit; Record/Information Dissemination Section;
Information Management Division; Federal Bureau of Investigation; 200 Constitution Drive; Winchester, VA
22602.   You may also email your response to foipaquestions@fbi.gov.   Please include the FOIPA Request Number
with any communication regarding this matter.

        Additional information about the FOIPA can be found at www.fbi.gov/foia. Should you have
questions regarding your request, please feel free to contact foipaquestions@fbi.gov. Please reference
the FOIPA Request number listed above in all correspondence concerning your request.
       Case 4:23-cv-04155-YGR                  Document 427-3              Filed 11/06/24          Page 2 of 2



          If you are not satisfied with the Federal Bureau of Investigation’s determination in response to this request,
you may administratively appeal by writing to the Director, Office of Information Policy (OIP), United States
Department of Justice, 441 G Street, NW, 6th Floor, Washington, D.C. 20530, or you may submit an appeal through
OIP's FOIA STAR portal by creating an account following the instructions on OIP’s website:
https://www.justice.gov/oip/submit-and-track-request-or-appeal.      Your appeal must be postmarked or electronically
transmitted within ninety (90) days of the date of my response to your request.     If you submit your appeal by mail,
both the letter and the envelope should be clearly marked "Freedom of Information Act Appeal."        Please cite the
FOIPA Request Number assigned to your request so it may be easily identified.

          You may seek dispute resolution services by emailing the FBI’s FOIA Public Liaison at
foipaquestions@fbi.gov. The subject heading should clearly state “Dispute Resolution Services.” Please also cite
the FOIPA Request Number assigned to your request so it may be easily identified. You may also contact the Office
of Government Information Services (OGIS). The contact information for OGIS is as follows: Office of Government
Information Services, National Archives and Records Administration, 8601 Adelphi Road-OGIS, College Park,
Maryland 20740-6001, e-mail at ogis@nara.gov; telephone at 202-741-5770; toll free at 1-877-684-6448; or facsimile
at 202-741-5769.




                                                                           Sincerely,




                                                                           Michael G. Seidel
                                                                           Section Chief
                                                                           Record/Information Dissemination Section
                                                                           Information Management Division
